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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JUSTUS CHESTNUT,                             )
                                             )
        Plaintiff,                           )
                                             )
        v.                                   )       Civil Action No. 2:06-CV-04921
                                             )
GENERAL MOTORS CORPORATION,                  )
                                             )
        Defendant.                           )

                             DEFENDANT’S STATUS REPORT

        Pursuant to the Court’s December 30, 2009 Order, Defendant General Motors

Corporation, now known as Motors Liquidation Company, provides the following information as

to status:


        The Defendant in this action is still the subject of a case under Chapter 11 of the United

States Bankruptcy Code which is still pending in the United States Bankruptcy Court for the

Southern District of New York, Case No. 09-50023 (REG). The Notice of Bankruptcy filed in

this case is still applicable. The Defendant in this case has not emerged from Bankruptcy.


                                             Respectfully submitted,

                                             LATHROP & GAGE LLP

                                             /s/ Bridget B. Romero
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                                             and



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                                            ATTORNEYS FOR DEFENDANT


                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 29, 2010, I electronically filed the document with the

clerk of the Court using the CM/ECF system, which will send a notice of electronic filing to the

following:

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                Langhorne, PA 19047

                Attorney for Plaintiff

                                            /s/ Bridget B. Romero
                                            An Attorney for Defendant




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